             Case 2:21-cv-00884-MJP Document 138 Filed 09/09/22 Page 1 of 5




                                                       THE HONORABLE MARSHA J. PECHMAN
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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6
   MARIJA PAUNOVIC and DUSAN
 7 PAUNOVIC, individually and on behalf of all
   others similarly situated,                              NO. 2:21-cv-00884-MJP
 8
                                                           NOTICE OF FILING CONSENTS
                           Plaintiffs,                     TO JOIN OF OPT-IN PLAINTIFFS
 9
                                                           NOS. 81-83
10          v.

11 OBI SEAFOODS LLC, an Alaska corporation,
   and OCEAN BEAUTY SEAFOODS LLC, an
12 Alaska corporation,

13                         Defendants.
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17          Plaintiffs, Marija Paunovic and Dusan Paunovic, by and through their undersigned

18 counsel, hereby give notice of filing the attached written Consents to Join of Opt-In Plaintiffs:

19          81.    Jonathan Coronado;

20          82.    Garrett Tomaganuk; and

21          83.    Peter J. Wesley.

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                                                                       TERRELL MARSHALL LAW GROUP PLLC
     NOTICE OF FILING CONSENTS TO JOIN OF OPT-IN                              936 North 34th Street, Suite 300
     PLAINTIFFS NOS. 81-83 - 1                                                Seattle, Washington 98103-8869
                                                                           TEL. 206.816.6603  FAX 206.319.5450
     CASE NO. 2:21-cv-00884-MJP                                                   www.terrellmarshall.com
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 1         RESPECTFULLY SUBMITTED AND DATED this 9th day of September, 2022.

 2                                           TERRELL MARSHALL LAW GROUP PLLC
 3
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